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                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF WEST VIRGINIA

  UNITED STATES OF AMERICA,

  v.                                                      Criminal Action No. 1:11-cr-27-17

  JONATHAN M. PEET,
           Defendant.

                                           ORDER/OPINION

          On the 14th day of November, 2014, came Defendant, Jonathan M. Peet, in person and by

  counsel, L. Richard Walker, and also came the United States by its Assistant United States Attorney,

  Stephen Warner, pursuant to a Petition for Warrant or Summons for Offender Under Supervision filed

  in this case on November 5, 2014, alleging Defendant violated conditions of his supervised release as

  follows:

          1.      Violation of Mandatory Condition No. 1: While on supervised release, the
                  defendant shall not commit another federal, state or local crime. The
                  defendant shall not unlawfully possess a controlled substance. The defendant
                  shall refrain from any unlawful use of a controlled substance.

          2.      Violation of Standard Condition No. 7: The defendant shall refrain from
                  excessive use of alcohol and shall not purchase, possess, use, distribute or
                  administer any controlled substance or any paraphernalia related to any
                  controlled substance, except as prescribed by a physician.

          Prior to the taking of any testimony and evidence, Defendant waived his preliminary hearing,

  conceding that probable cause existed to forward this revocation matter to United States District Judge

  Irene M. Keeley for hearing and disposition. Upon consideration of which, the Court finds there is

  probable cause to believe that Defendant violated conditions of his supervised release as alleged in the

  Petition for Warrant or Summons for Offender Under Supervision filed November 5, 2014. It is

  therefore ORDERED that Defendant be bound over for a full hearing before the Honorable Irene M.

  Keeley, United States District Judge for the Northern District of West Virginia, on the violations

  alleged in the Petition for Warrant or Summons for Offender Under Supervision dated November 5,
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  2014.

          Defendant requested release on home detention pending further proceedings in this matter.

  Defendant, through counsel, proffered that he could return to his parents residence in Clarksburg, West

  Virginia, and that Defendant was working at Subway in Nutter Fort, West Virginia. The Court

  believes that there are additional conditions that can be imposed to ensure that Defendant does not pose

  a flight risk or a danger to the community should he be released. Accordingly, Defendant is

  RELEASED pursuant to his previously set conditions of supervised release, as well as the following

  conditions:

          1.       Defendant shall reside with his parents at their residence in Clarksburg, West
                   Virginia;

          2.       Defendant shall be subject to home detention and shall not leave his parents’
                   residence except for purposes of work, meetings with his Probation Officer,
                   meetings with his attorney, and counseling appointments;

          3.       Defendant shall, twice per week, make contact with the ROOTS outreach
                   program, until Defendant is admitted to such program; and

          4.       Once per week, prior to the Friday of each week, Defendant shall make
                   telephone contact with Probation Officer Mark McKee to advise him of his
                   contacts with the ROOTS program as well as the status of Defendant’s
                   employment.

          The Court notes the Government’s objection to Defendant’s release.

          It is so ORDERED.

          The Clerk of the Court is directed to provide a copy of this Order to counsel of record.

          DATED: November 17, 2014

                                                  John S. Kaull
                                                  JOHN S. KAULL
                                                  UNITED STATES MAGISTRATE JUDGE
